                 Case 1:09-cr-00290-JTN
 Order of Detention Pending Revocation Hearing
                                                            ECF No. 582, PageID.1835                            Filed 07/13/15                Page 1 of 2



                                                  WESTERN DISTRICT OF MICHIGAN
  UNITED STATES OF AMERICA                                                                  ORDER OF DETENTION PENDING
                     v.                                                                     REVOCATION HEARING
  Christopher Ramone McCoy                                                                  Case Number: 1:09-CR-290

        In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
  require the detention of the defendant pending revocation hearing in this case.
                                                                Part I - Findings of Fact
           (1)      The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                    offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                    existed) that is
                          a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                          a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                          U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
          (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                   offense.
          (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                   the offense described in finding (1).
          (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                   assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                   presumption.
                                                                  Alternate Findings (A)
          (1)      There is probable cause to believe that the defendant has committed an offense
                            for which a maximum term of imprisonment of ten years or more is prescribed in
                            under 18 U.S.C.§924(c).
          (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                   reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                  Alternate Findings (B)
          (1)      There is a serious risk that the defendant will not appear.
  ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                   This is defendant's third involvement with drugs while on supervised release, since November 2014. In the first
                   instance it is believed he sold drugs in Kentwood based on the testimony of the purchaser of those drugs.
                   Defendant admitted hanging around with people who were involved with drugs.

                   On April 24, 2014, defendant was found to be using marijuana and having it in his (continued on attachment)

                                 Part II - Written Statement of Reasons for Detention
The Court finds defendant has failed to meet his burden to show by clear and convincing evidence that he is not a danger to the
community, including himself, by his continued use of drugs. Notwithstanding that, to his credit, he has maintained
employment, he continues to be involved with drugs and appears to be ratcheting up his misbehavior in this regard even as he
is repeatedly sanctioned by the Court.


                                             Part III - Directions Regarding Detention
     The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On
order of a court of the United States or on request of an attorney for the Government, the person in charge of the corrections
facility shall deliver the defendant to the United States marshal for the purpose of an appearance in connection with a court
proceeding.


 Dated:         July 13, 2015                                                  /s/ Hugh W. Brenneman, Jr.
                                                                                                             Signature of Judicial Officer
                                                                               Hugh W. Brenneman, Jr., United States Magistrate Judge
                                                                                                         Name and Title of Judicial Officer

       *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
 (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
Case 1:09-cr-00290-JTN        ECF No. 582, PageID.1836          Filed 07/13/15     Page 2 of 2




United States v. Christopher Ramone McCoy
1:09-CR-290
ORDER OF DETENTION PENDING REVOCATION HEARING
Page 2.


Alternate Findings (B) - (continued)

residence, and his supervised release was modified to place him in the RRC for five months.

In this instance, there is probable cause to believe defendant used cocaine on June 8, 2015,
notwithstanding his placement at the RRC. Defendant waived his probable cause hearing on this
violation.
